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8                            UNITED STATES DISTRICT COURT
9                           CENTRAL DISTRICT OF CALIFORNIA
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11    DERIK DULEY, an individual, on
      behalf of himself and all members of        Case No. 2:19-CV-08754-AB (JCx)
12    the putative class,

13                    Plaintiff,
                                                  ORDER DISMISSING CIVIL ACTION
14    v.
15    CENTERRA GROUP, LLC, a
      Delaware Corporation; and DOES 1
16    through 100, inclusive
17                    Defendants.
18
19         THE COURT having been advised by counsel that the above-entitled action has
20   been settled;
21         IT IS THEREFORE ORDERED that this action is hereby dismissed without
22   costs and without prejudice to the right, upon good cause shown within forty-five (45)
23   days, to re-open the action if settlement is not consummated. This Court retains full
24   jurisdiction over this action and this Order shall not prejudice any party to this action.
25
26
     Dated: October 12, 2021          _______________________________________
27                                    HONORABLE ANDRÉ BIROTTE JR.
28                                    UNITED STATES DISTRICT JUDGE

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